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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

E.T. by and through her parents and              §
as next friends, et al.                          §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §       Civil Action No. 1:21-cv-00717-LY
                                                 §
Mike Morath, in his official capacity as the     §
Commissioner of the Texas Education              §
Agency; the Texas Education Agency;              §
and Attorney General Ken Paxton, in              §
is official capacity as Attorney                 §
General of Texas,                                §
                                                 §
        Defendants.                              §


            DEFENDANT’S NOTICE OF NO REPLY IN SUPPORT OF MOTION FOR STAY


        Defendant Ken Paxton, in his official capacity as Attorney General of Texas (“Attorney

General”) hereby notifies the Court that, to expedite a ruling on the Motion to Stay (ECF 85), he will

file no reply in support thereof. The Attorney General respectfully requests the Court grant the

Motion to Stay for the reasons stated therein.

                                                 Respectfully submitted,

                                                     KEN PAXTON
                                                     Attorney General of Texas

                                                     BRENT WEBSTER
                                                     First Assistant Attorney General

                                                     GRANT DORFMAN
                                                     Deputy First Assistant Attorney General

                                                     SHAWN COWLES
                                                     Deputy Attorney General for Civil Litigation

                                                     THOMAS A. ALBRIGHT
                                                     Chief - General Litigation Division


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                                                /s/ Ryan G. Kercher
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                                                Counsel for Defendants

                                CERTIFICATE OF SERVICE
        I certify that on November 17, 2021, a true and correct copy of the foregoing document was
served via the Court’s CM/ECF system to all counsel of record.

                                              /s/ Ryan G. Kercher
                                             RYAN G. KERCHER




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